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US. DISTRICT COURT

     
 
 

 

IN THE UNITED STATES DISTRICT COURT MAY 25 ct2t
FOR THE NORTHERN DISTRICT OF THXAS

DALLAS DIVISION CLERK, US. DISTRICT COURT
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UNITED STATES OF AMERICA Deputy

v. nO@-Z1I1CRO236-E

WILLIAM ROY STONE, Jr. FILED UNDER SEALED

 

INDICTMENT
The Grand Jury Charges:
Introduction

At all times material to this Indictment:

1. Defendant William Roy Stone, Jr., was a retired Special Agent of the
Federal Bureau of Investigation.

2. Individual A is a person known to the Grand Jury.

3. Company A is a company known to the Grand Jury.

4, From in or around November 2015 to in or around August 2019, Stone,
along with Individual A, engaged in a scheme and artifice to defraud and deceive the
victim, herein further identified by the initials, C.T., with false statements including: that
Stone was still an active agent with the Federal Bureau of Investigation; that C.T. was
under federal probation and, pursuant thereto, was under the supervision of Stone and
Individual A; that C.T. was obligated to pay Stone’s expenses associated with Stone’s
supervision of C.T.’s probation; and, that C.T. owed Company A restitution. As a result

of the fraud and coercion, C.T. also felt compelled to give Stone large sums of money

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and additional property to facilitate Stone’s purchase of various items including a house
and motor vehicles.

5. In furtherance of the scheme, Stone convinced C.T. that if she did not
comply with Stone’s directives regarding the alleged federal probation, including paying
Stone’s expenses, providing Stone with large sums of money and property, and paying
the fictitious restitution that Stone represented was owed by C.T. to Company A, that
C.T. would go to prison and that her children would be taken away from her.

6. Accordingly, as a result of Stone’s deception and coercion, from in or
around December 2015 to in or around 2019, C.T. gave Stone over $800,000 in money
and property.

7. At Stone’s direction, C.T. also gave property to Individual A for his
participation in the scheme.

Count One

Conspiracy to Commit Wire Fraud
[Violation of 18 U.S.C. § 1349 (18 U.S.C. § 1343)]

8. The Grand Jury realleges and incorporates by reference the allegations
contained in paragraphs | through 7 of this Indictment, as if fully set forth herein.

9. Starting in or about November 2015 and continuing until in or about
August 2019, in the Northern District of Texas and elsewhere, defendant William Roy
Stone, Jr. and Individual A did knowingly and willfully combine, conspire, confederate,
and agree with each other to commit the offense of wire fraud, in violation of 18 U.S.C.

§ 1343.

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Objects of the Conspiracy

 

10. ‘The object of the conspiracy was to unlawfully coerce and defraud C.T. of
money and other property in return for Stone’s and Individual A’s purported involvement
in C.T.’s fictitious federal probation.

11. It was further the object of the conspiracy to unlawfully defraud C.T. of
money and property by falsely claiming that C.T. owed restitution to Company A.

Manner and Means of the Conspiracy

 

12. In furtherance of the conspiracy and joint scheme and artifice to defraud:

a. Stone told C.T. that she was under “secret probation” in “Judge
Anderson’s court in Austin, Texas,” and that the judge had allowed Stone and Individual
A to “mentor” and “supervise” C.T.’s probation.

b. Stone told C.T. that there were many terms and conditions of the
alleged probation, including the following: that C.T. had to report to Stone and Individual
A on her activities and conduct while on probation; that C.T. could not travel outside of
the State of Texas without the judge’s approval; that C.T. had to provide a list to Stone of
all the property and assets she had recently inherited from her grandmother, and that C.T.
had to transfer some of the inherited assets out of a trust and put those assets into her
name; that C.T. was only allowed to use social media to promote her business; and, that
C.T. could not disclose to anyone that she was on federal probation.

c. Stone repeatedly threatened C.T. with incarceration and losing her

children if she did not follow the alleged terms and conditions of probation.

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d. Stone told C.T. that he needed to travel to Austin, Texas on many
occasions to meet with Judge Anderson and discuss C.T.’s probation and that she had to
pay Stone’s expenses associated with those trips.

e. Stone further coerced C.T. into supporting Stone’s lifestyle,
including giving Stone large sums of money to purchase and remodel a house, to
purchase motor vehicles for Stone, and to pay restitution to Company A that Stone said
C.T. owed even though Stone deposited those funds into a bank account under his control
and subsequently used those funds to purchase a house.

f. Stone further convinced C.T. that she should also compensate
Individual A for his efforts in supervising her probation.

g. Stone engaged in several tactics to convince C.T. that the probation
was real, and to maintain control over her life, including the following:

i. convincing C.T. that her family wanted to take her inheritance
away from her and that she should distance herself from them;

ii. convincing C.T. that he (Stone) had the ability to monitor her
cell phone communications,

iii. placing “spoof” calls between himself and C.T. and the fictitious
Judge Anderson to question C.T. about her conduct while on
probation;

iv. enlisting the aid of an individual, who is known to the Grand

Jury, to leave messages on Stone’s phone purporting to be from

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the United States Drug Enforcement Administration “Intelligence
Center” inquiring about C.T.;

v. claiming to discuss C.T.’s probation with a psychiatrist and
telling C.T. about those discussions; and,

vi. proposing to marry C.T. and then claiming he would seek a
discharge of C.T.’s probation from Judge Anderson.

h. Stone deposited the monies he received from C.T. into his bank
account or caused C.T. to pay third parties on his behalf, which caused financial
institutions, including J.P. Morgan Chase and Wells Fargo, to engage in interstate wire
transmissions from the State of Texas to out-of-state servers, as further described in
counts two through eight.

All in violation of 18 U.S.C. § 1349 (18 U.S.C. § 1343).

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Counts Two through Eight
Wire Fraud
[Violation of 18 U.S.C. § 1343]

 

13. The Grand Jury realleges and incorporates by reference the allegations
contained in paragraphs one through twelve of this Indictment, as if fully set forth herein.

14. From in or about November 2015 and continuing until in or about August
2019, in the Northern District of Texas, the defendant, William Roy Stone, Jr., having
knowingly and intentionally devised and intended to devise a scheme and artifice to
defraud the victim, C.T., and to obtain money by means of false and fraudulent pretenses,
representations, and promises, as described in paragraphs one through twelve of this
Indictment, transmitted or caused to be transmitted by means of wire communication in
interstate commerce writings, signs, signals, pictures and sounds for the purpose of
executing the scheme or artifice, to wit: financial transactions between financial
institutions in Texas and out-of-state financial institution servers, on or about the dates

described below, each such transmission constituting a separate count:

 

 

 

 

 

 

 

 

 

 

 

 

Count Date Financial Transaction Amount

Institution

) 6/3/2016 J.P. Morgan Withdrawal for cash $9,000.00
Chase

3 6/17/2016 J.P. Morgan Cashier’s Check to Park Place $76,816.90
Chase Mercedes

4 6/21/2016 J.P. Morgan Cashier’s check to Park Place $18,500.00
Chase Mercedes

5 6/24/2016 J.P. Morgan Withdrawal for cash $5,000.00
Chase
J.P. Morgan Cashier’s check payable to

6 9/1/2016 Chase Texas Toyota of Grapevine $24,003.47

 

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J.P. Morgan Withdrawal by cashier’s

7 9/13/2016 Chase check payable to Stone $154,500.00
J.P. Morgan Withdrawal by check payable

8 10/18/2016 Chase to Bath Kitchen Design center $25,000.00

 

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Each in violation of 18 U.S.C. § 1343.

 
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Count Nine |
Engaging in Monetary Transactions in Property Derived from Specified Unlawful
Activity
[Violation of 18 U.S.C. § 1957(a)]

15. The Grand Jury realleges and incorporates by reference the allegations
contained in paragraphs one through fourteen of this Indictment, as if fully set forth
herein.

16. Onor about September 23, 2016, in the Northern District of Texas, and
elsewhere, the defendant, William Roy Stone, Jr., knowing that the funds involved
represented the proceeds of some form of unlawful activity, engaged in and attempted to
engage in a monetary transaction, in and affecting interstate commerce, in criminally
derived property of a value greater than $10,000, which property, in fact, was derived
from specified unlawful activity, namely, wire fraud, in violation of 18 U.S.C. § 1343,
that is, Stone purchased a house by cashier’s check, by and through a financial
institution, to-wit, Wells Fargo, which was engaged in or the activities of which affected

interstate commerce.

All in violation of 18 U.S.C. § 1957(a).

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Count Ten
False Impersonation of a Federal Officer or Employee
[Violation of 18 U.S.C. § 912]

17. | The Grand Jury realleges and incorporates by reference the allegations
contained in paragraphs one through sixteen of this Indictment, as if fully set forth herein.
18. From in or around November 2015 through in or around 2019, in the

Northern District of Texas, the defendant, William Roy Stone, Jr., falsely assumed and

pretended to be an officer and employee acting under the authority of the United States or

of Investigation, and acted as such, and in such assumed and pretended character,
knowingly with intent to defraud, demanded and obtained money and other things of
value totaling approximately $800,000 from the victim, C.T.

any department, agency or office thereof, that is, a Special Agent of the Federal Bureau
In violation of 18 U.S.C. § 912.

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Count Eleven
False Statements to Law Enforcement
[Violation of 18 U.S.C. § 1001]

19, |The Grand Jury realleges and incorporates by reference the allegations
contained in paragraphs one through eighteen of this Indictment, as if fully set forth
herein.

20. Onor about July 26, 2019, in the Northern District of Texas, the defendant,
William Roy Stone, Jr., knowingly and willfully falsified, concealed, or covered up by
any trick, scheme, or device a material fact, and made materially false, fictitious, and
fraudulent statements and representations in a matter within the jurisdiction of the
executive branch of the Government of the United States; that is, a fraud investigation
into Stone’s conduct with the victim, C.T., during an interview with a Special Agent of
the Federal Bureau of Investigation, including the following: by misrepresenting the
amount of money and circumstances under which he received money and property from
C.T.; by denying that he had threatened C.T. with incarceration; by failing to disclose that
he had falsely told C.T. that she was subject to federal probation and that he was her
probation mentor and supervisor; and, by failing to disclose that he fraudulently told C.T.
that she owed Company A restitution in the amount of $250,000, an amount that Stone
convinced C.T. to pay to him which he subsequently used to purchase a house. The
omissions and statements and representations were materially false, fictitious, and

fraudulent because, as Stone then and there knew, the amount of money and property that

he had fraudulently received from C.T. was in excess of $800,000, that he had coerced

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C.T. into believing that she was serving a term of federal probation in which he alleged
that he was her mentor and supervisor, that he had threatened C.T. with incarceration if
she failed to abide by Stone’s conditions of probation, and that Stone used the alleged
restitution money to purchase a house for himself.

All in violation of 18 U.S.C. § 1001(a)(1) and (2).

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Forfeiture Notice
{18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1)]

21. Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon
conviction for any of the offenses listed in Counts One through Eight, and the defendant,
William Roy Stone, Jr., shall forfeit to the United States, any property, real or personal,
which constitutes or is derived from proceeds traceable to the respective offense,
including, but not limited to, the following:

a. The real property situated at 6812 Kennedy Drive, Colleyville, Texas, more
specifically described as Lot 25, Block 12, Ross Downs Estates IV, an addition
to the City of Colleyville, Tarrant County, Texas.

b. 2017 Toyota Tacoma, Texas license plate KCG4826, VIN
STFEZ5CNXHX04 1853.

c. 2016 Mercedes CLS, Texas license plate HMP0591, VIN
WDDLJ7GB3GA 174438.

22. Pursuant to 18 U.S.C. § 982(a)(1), upon conviction for any of the offense
listed in Count Nine, the defendant, William Roy Stone, Jr., shall forfeit to the United
States any property, real or personal, involved in, or traceable to property involved in, the
offense, including, but not limited to, the following:

a. The real property situated at 6812 Kennedy Drive, Colleyville, Texas, more

specifically described as Lot 25, Block 12, Ross Downs Estates IV, an addition
to the City of Colleyville, Tarrant County, Texas.

23. Pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), if
any of the property described above, as a result of any act or omission of the defendant
(i) cannot be located upon the exercise of due diligence; (ii) has been transferred or sold

to, or deposited with, a third party; (iii) has been placed beyond the jurisdiction of the

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court; (iv) has been substantially diminished in value; or (v) has been commingled with
other property which cannot be divided without difficulty, the United States intends to
seek forfeiture of any other property of the defendant up to the value of the forfeitable

property described above.

A TRUE BILL

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FOREPERSON

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

WILLIAM ROY STONE, JR.

 

SEALED INDICTMENT

18 U.S.C. § 1349 (18 U.S.C. § 1343)
Conspiracy to Commit Wire Fraud
(Count 1)

18 U.S.C. § 1343
Wire Fraud
(Counts 2-8)

18 U.S.C. § 1957(a)

Engaging in Monetary Transactions in Property Derived from Specified Unlawful
Activity
(Count 9)

18 U.S.C. § 912

False Impersonation of a Federal Officer or Employee
(Count 10)

18 U.S.C. § 1001

False Statements to Law Enforcement
(Count 11)

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), and 18 U.S.C. § 982(a)(1)
Forfeiture Notice

11 Counts

 
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A true bill rendered

DALLAS

 

Filed in open court this i) day of May, 2021.

 

 

UNITED STAT. RATE JUDGE
No Criminal Matter Pending

 
